 

 

USM-285 1 | ee es :

 

 

US. Department of Justice PROCESS RECEIPT AND RETURN wv

United States Marshals Service See “Instructions for Service of Process by LS AMlarshal”

 

 

PLAINTIFF COURT CASE NUMBER

Cristian Aa cnos I70 2B7G

DEFENDANT

TYPE OF PROCESS yes Mott S/k
CO. Zambeiz. (ASA C

NAME OF INDIVIDUAL. COMPANY. CORPORATION FTC TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE J C.0 Zamboxiz

AT ADDRESS (Street or RFD. 4partment No.. Cin. State and ZIP Code)

P.O.bex Wd Joliet, TL 60434- alg

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

 

 

Number of process to be
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Cristian Ramos scntmas | 3
\\OS3N.20th ave.

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SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate .
All Telephone Numbers, and Estimated Times Available for Service):

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Scuy ie - vec onal Center /Novthern Reception Center
Box \

Joliet pale G0434-0//2 773m first she ff Corvecttanal, OLLecey

 

Addresses

 

Signature of Attorney other Onginator requesting service on behalf of We AINTIFE TELEPHONE NUMBER DATE

[7] DEFENDANT 708-267-//8) | 3- [$- (8
SPACE BELOW FOR USE OF US. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE

}acknowledge receipt for the total | Total Process | Dist rict ot District to
number of process indicated
Sten ouly for USM 285 if more
than ane USM 285 is submitted} i

 

Signature of Authorized USMS Deputy or Clerk | Date
Serve

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Uhereby cerufy and return that | i_] have personally served . SF have iegal evidence of service. [] have executed as shown in “Remarks”, the process descent
on the individual , company, corporation, etc., at the addresss roan above on the on the individual . company, corporation, ete shown

 

 

 

 

 

at the address inserted below

Xi Thereby certify and return that | am unable to locate the individual, company. corporation, etc. named above (See remarks below)

Name and title of individual served (ifnort shown abave; FF I i E D C7 A person of suitable age and discretion

then residing in defendant's usual place
ot abode

MAY 24 2018 one rime
&r 0) 15 | 154
THOMAS G. BRUTON

; pemyre of US)

CLERK, U.S. DISTRICT COURT

Service Fee Total Mileage Charges) Forwarding Fee
including endeavors)

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BEMARES Re hused . U, nL ajith 4 Shteyille witty Us Na me :

eheESetluioss © CLERK OF THE COURT iene "

1 PRIOR EDITIONS MAY BE USED
2. USMS RECORD
3. NOTICE OF SERVIC
4 BILLING STATEMENT™: To be retumed to the US L PEE SH 3

fany amount is owed. Please remit promptly pe avable to US) Marshal OS 7 Form USM-285
S ACKNOWLEDGMENT OF RECEIPI

Rev. 12/80

 

Address feemplere ony different than shown above)

 

 

 

arshal or Deputy

    
 

 

 

Total Charges Advance Deposits

 

 

 

 

 

 

S. Marshal with payment,

 
 

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CLERK, U.S. DISTRI (or COURT

 

 
